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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MARYLAND


 CONSTANCE COLLINS
 61 Grand Banks Cir.
 Marlton, Burlington County, NJ 08053;

 AND

 PEOPLE FOR THE ETHICAL                            Civil Action No.
 TREATMENT OF ANIMALS, INC.
 501 Front St.
 Norfolk, VA 23510,

                      Plaintiffs,

                       v.

 TRI-STATE ZOOLOGICAL PARK OF
 WESTERN MARYLAND, INC.
 10105 Cottage Inn Ln.
 Cumberland, Allegany County, MD 21502;

 ANIMAL PARK, CARE & RESCUE, INC.
 10105 Cottage Inn Ln.
 Cumberland, Allegany County, MD 21502;

 AND

 ROBERT L. CANDY
 12605 Moores Hollow Rd.
 Cumberland, Allegany County, MD 21502,

                      Defendants.


       COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

I.     INTRODUCTION

       1.      Defendants Tri-State Zoological Park of Western Maryland, Inc.,

Animal Park, Care & Rescue, Inc., and their principal Robert (Bob) L. Candy
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(collectively “Defendants”) operate a public nuisance in the form of a roadside zoo

(“Tri-State”) that confines and exhibits approximately 110 animals of various species

in conditions that deprive the animals of basic necessities—including nutritious food

in sufficient quantity, necessary veterinary care, proper drink, proper space, proper

shelter, and proper protection from the weather—and inflict unnecessary suffering

on the animals.

         2.      Defendants do not provide appropriate care for any of the animals

exhibited at Tri-State. The allegations specific to certain animals set forth in this

Complaint are exemplary of Defendants’ conduct; at Tri-State every animal suffers

from Defendants’ failure to provide appropriate care as well as the pervasive

inadequate and inhumane conditions.

         3.      The enclosures confining animals at Tri-State are wholly inadequate

and unsanitary, chronically littered with animal and food waste, void of proper

environmental enrichment, and often in disrepair. As a judge of this district recently

found, “[f]ilth and feces dominate Tri-State.” PETA v. Tri-State Zoological Park of W.

Maryland, No. 8:17-CV-02148-PX, 2019 WL 7185560 (“PETA”), at *3 (D. Md. Dec. 26,

2019).

         4.      Defendants’ mistreatment of animals confined at Tri-State causes

annoyance and physical discomfort to Tri-State visitors of ordinary sensibilities,

tastes, and habits. It also unreasonably interferes with public morals, including by

violating Maryland law against cruelty to animals as well as the federal Animal




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Welfare Act, which are indicative of public policy concerning animal welfare and the

corresponding moral prohibition against treating animals cruelly.

       5.      Through their neglect and mistreatment of animals and violations of

state and federal law, Defendants have unreasonably interfered with the rights of the

general public and created a public nuisance.

       6.      Plaintiffs Constance (Connie) Collins, who visited Tri-State in July

2018, and People for the Ethical Treatment of Animals, Inc. (“PETA,” and together,

“Plaintiffs”), bring this action to enjoin the public nuisance created by Defendants’

conduct.

II.    JURISDICTION AND VENUE

       7.      This Court has jurisdiction pursuant to 28 U.S.C. § 1332 because

complete diversity exists between Plaintiffs and Defendants, and the amount in

controversy, including the value of the injunctive relief sought, exceeds $75,000,

exclusive of interest and costs.

       8.      Venue is appropriate in this judicial district pursuant to 28 U.S.C.

§ 1391 because the public nuisance alleged in this Complaint occurred, and continues

to occur, on premises located in this judicial district.

III.   THE PARTIES

       9.      Plaintiff Connie Collins is a resident of New Jersey who derives

personal, recreational, educational, and aesthetic benefits from being in the presence

of animals and observing animals in a humane setting. Ms. Collins visited Tri-State,

where she observed and developed aesthetic and emotional connections to many of

the animals at Tri-State. Due to the animal mistreatment and suffering that she

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witnessed, she became too distressed to return to Tri-State while the animals are in

their current condition.

       10.    Plaintiff PETA is a Virginia nonstock corporation and animal protection

charity pursuant to Section 501(c)(3) of the Internal Revenue Code. Its headquarters

are located in Norfolk, Virginia.

       11.    Defendant Animal Park, Care & Rescue, Inc. (“Animal Park”) is a

Maryland corporation that is not in good standing, located at 10105 Cottage Inn. Ln.,

Cumberland, MD 21502. Animal Park owns some of the animals that are the subject

of this action.

       12.    Defendant Tri-State Zoological Park of Western Maryland, Inc.

(“Tri-State Zoological Park”) is a Maryland corporation located at 10105 Cottage Inn.

Ln., Cumberland, MD 21502. Tri-State Zoological Park exhibits and owns some of the

animals that are the subject of this action.

       13.    Defendant Bob Candy is a resident of Allegany County, Maryland.

Mr. Candy is and was at all relevant times the registered agent and principal of Tri-

State Zoological Park and Animal Park. Mr. Candy acts on behalf of Tri-State

Zoological Park and Animal Park by, among other things, overseeing their day-to-day

operations, managing animal care, acting as the primary animal caregiver, and

supervising volunteers.




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IV.   FACTUAL BACKGROUND

            A. Defendants unreasonably interfere with public morals by
               mistreating and neglecting animals in violation of federal and
               state law.

      14.     Tri-State is a roadside zoo in Cumberland, Maryland operating on the

grounds of a former campground.

      15.     At Tri-State, Defendants confine and exhibit approximately 110

animals, including mammals, birds, and reptiles, and charge the public a nominal fee

to view and interact with the animals.

      16.     Tri-State is not accredited as a zoo or sanctuary. It does not hold, for

example, an accreditation from the Association of Zoos & Aquariums or the Global

Federation of Animal Sanctuaries.

      17.     Defendants frequently deny many of the animals at Tri-State timely

veterinary care, daily care by staff experienced in animal care and husbandry,

sufficient environmental enrichment, proper food, potable water, shelter from the

elements, and, in some cases, appropriate social groups.

      18.     Defendants’ continuous mistreatment and neglect of the animals

confined at Tri-State violate federal and state laws, which are indicative of public

policy concerning animal welfare and the corresponding moral prohibition against

treating animals cruelly, thus constituting a public nuisance.

      19.     Maryland’s Legislature has made it a crime to “deprive an animal of

necessary sustenance”; to “inflict unnecessary suffering or pain on an animal”; or to

“cause, procure, or authorize” such deprivation of sustenance or infliction of suffering

or pain. Md. Code, Crim. Law § 10-604. State law also prohibits a “person [who] has

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charge or custody of an animal, as owner or otherwise, [from] unnecessarily fail[ing]

to provide the animal with: (i) nutritious food in sufficient quantity; (ii) necessary

veterinary care; (iii) proper drink; (iv) proper air; (v) proper space; (vi) proper shelter;

or (vii) proper protection from the weather.” Id.

       20.    The Animal Welfare Act (“AWA”), 7 U.S.C. §§ 2131-2159, provides

protection from animal neglect similar to the Maryland Criminal Code, and

establishes bare minimum federal protections for certain categories of animals in

captivity. Since 2008, Tri-State has been cited on inspection reports by the U.S.

Department of Agriculture (“USDA”) for more than seventy violations of the AWA.

These USDA inspection reports do not even capture all violations of the AWA and, in

fact, wholly omit several species of animals at Tri-State that the AWA does not cover.

       21.    The USDA inspection reports detail Defendants’ pattern of disregarding

animal welfare and demonstrated failure to provide proper care for animals. These

violations concern issues of serious neglect, including, for example, failure to provide

adequate veterinary care and failure to prevent the buildup of feces in multiple

enclosures.

       22.    Defendants’ chronic and willful disregard for animal welfare led to a

45-day suspension of the facility’s AWA license in 2013. Tri-State Zoological Park of

Western Maryland, Inc., 72 Agric. Dec. 128, 2013 WL 8214620 (U.S.D.A. 2013)

(Decision & Order); Tri-State Zoological Park of Western Maryland, Inc., 71 Agric.

Dec. 915, 2012 WL 3877392, (U.S.D.A. 2012) (Decision & Order). Even after the

facility’s license was suspended, Defendants continued to disregard the AWA’s



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minimum standards of care, resulting in an official warning against the facility in

2015.

              1. Defendants fail to provide animals necessary veterinary care.

        23.   Defendants have a pattern and practice of failing to provide animals in

their custody with necessary veterinary care, contrary to applicable law. See, e.g., Md.

Code, Crim. Law § 10-604.

        24.   The PETA court, opining on Tri-State’s care of lions, tigers, and lemurs,

found that Defendant Tri-State’s veterinarians “utterly failed to implement a

satisfactory program of veterinary care.” PETA, 2019 WL 7185560, at *4.

        25.   Tri-State’s program of veterinary care for other animals is similarly

deficient. As the PETA court found, Defendants “[s]tunningly . . . maintained only 86

pages of medical records in connection with [former Tri-State veterinarian] Dr. Fox’s

veterinary care for the last decade and for the entire zoo population” and “only 121

pages of records . . . associated with [current Tri-State veterinarian] Dr. Duncan’s

care.” PETA, 2019 WL 7185560, at *4 (emphasis in original).

        26.   Defendants failed to treat two Himalayan black bears suffering from

obvious chronic, severe, and painful dental disease.

        27.   Defendants failed to have a veterinarian examine a macaque until the

animal had a baseball-size firm mass and maggots in her vaginal area.

        28.   Defendants failed to have a veterinarian examine a kinkajou named

Chewy who appeared weak and did not have an appetite, and subsequently died.




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       29.    Defendants failed to have a veterinarian examine a dog named Cumber

with diarrhea until she stopped eating and was unable to stand up and thereafter

was diagnosed with worms.

       30.    Defendants denied a wolf—whose condition was left to deteriorate until

he was unable to move his hind end and was no longer eating or drinking—adequate

veterinary care.

       31.    Defendants failed to treat overgrown hooves in pigs, which can make it

painful or difficult to walk.

       32.    On information and belief, Defendants failed to treat a macaw suffering

with a body wound for at least one month, requiring a wing amputation for which

Defendant Candy refused to pay.

       33.    Defendants also deny proper veterinary care to free-roaming cats and

other animals present at Tri-State.

       34.    The USDA previously found Defendants have also failed to maintain a

program of adequate veterinary care for goats with hoof problems.

              2. Defendants fail to provide animals proper drink.

       35.    Defendants have a pattern and practice of failing to provide animals in

their custody with proper drink, contrary to applicable law. See, e.g., Md. Code, Crim.

Law § 10-604.

       36.    On information and belief, there are no formal protocols in place to

ensure that volunteers perform their assigned duties or to ensure that animals




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routinely receive fresh water. Defendants frequently failed to refresh animals’ water

at Tri-State.

         37.    Defendants frequently let animals at Tri-State go without potable

water.

         38.    For example, Ms. Collins observed no visible drinking water in the

outdoor portion of the Himalayan black bear enclosure, despite warm weather.

         39.    As the USDA found, Defendants have also failed to clean water bowls,

which contained a buildup of dark brown-green material.

                3. Defendants fail to provide animals proper shelter.

         40.    Defendants have a pattern and practice of failing to provide animals in

their custody with proper shelter, including safety and sanitation in violation of

applicable law. See, e.g., Md. Code, Crim. Law § 10-604.

         41.    By way of example, Defendants failed to take steps to prevent an

enclosure from being destroyed by a falling tree.

         42.    Defendants also failed to prevent a primate from escaping and leaving

Tri-State when a volunteer left the enclosure door open.

         43.    As the USDA found, Defendants have also:

                a. left the cord of a heat lamp adjacent to a pigtail macaque enclosure,

                   resulting in the macaque’s electrocution and death;

                b. failed to repair a porcupine’s nest box containing jagged edges;

                c. failed to repair sharp, broken, and exposed wires in a fence

                   surrounding animals used in a petting zoo;



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             d. failed to repair loose boards in the fence between the puma and tiger

                enclosures;

             e. failed to repair a wooden ramp with holes, splinters, and protruding

                nail heads in a wildcat enclosure;

             f. failed to have structurally sound fencing in the petting zoo

                enclosures;

             g. failed to remove excessive debris near the areas housing the

                macaques;

             h. failed to fix an overhang to protect animals and the shelter structure

                from water damage in the bobcat enclosure;

             i. failed to provide sufficient barriers between a squirrel monkey and

                the public;

             j. repeatedly failed to provide a secure perimeter fence to prevent the

                entry of trespassing humans; and

             k. left in disrepair a gate that does not close properly in the squirrel

                monkey enclosure.

      44.    The PETA court found that lions, tigers, and lemurs at Tri-State were

“housed in fetid and dystopic conditions,” a “bacteria-ridden wasteland, and in stark

contrast to their natural habitats.” PETA, 2019 WL 7185560, at *3, *10.

      45.    Defendants also fail to maintain adequate sanitation in the other animal

enclosures at Tri-State.




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      46.      On information and belief, there are no formal protocols in place to

ensure that volunteers perform their assigned duties or to ensure that all of the

animal enclosures are routinely cleaned. Defendants routinely fail to clean the animal

enclosures at Tri-State.

      47.      Defendants fail to dispose of waste. Many enclosures are chronically

littered with soiled bedding, animal and food waste.

      48.      Defendants routinely allow feces to accumulate in animal enclosures,

including the kinkajou, reptile, Himalayan black bear, squirrel monkey, and farm

animal enclosures. Failure to clean feces can result in the spread of parasites to other

animals and can otherwise interfere with the animals’ health and wellness.

      49.      Defendants’ failure to routinely clean animal enclosures subjects the

animals to noxious smells. For example, upon nearing the reptile exhibit, Ms. Collins

experienced an odor so potent and overbearing that she could not enter the building.

      50.      Defendants deny clean water to animals, and for those who have access

to pools of water for submerging, routinely leave those water sources turbid and fetid,

including water in the alligator, turtle, and Himalayan black bear enclosures.

      51.      Due to inadequate drainage at the facility, mud and water routinely pool

in animal enclosures. Standing water increases the risk of mosquitos carrying

diseases such as the West Nile virus, to which alpacas and equines are particularly

susceptible.

      52.      Defendants allow many of the animals at Tri-State to roam freely,

including chickens, ducks, turkeys, peafowls, and rabbits. Scores of free-roaming cats



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also roam the grounds and can move in and out of animal exhibits and food

preparation areas.

      53.    Free-roaming animals are disease vectors and can transmit diseases

such as toxoplasmosis to the animals confined at Tri-State. For example, domestic

cats can spread a number of diseases to bobcats, including feline leukemia virus and

feline immunodeficiency virus.

      54.    Defendants failed to prevent free-roaming rodents from entering

enclosures. On information and belief, Defendants failed to prevent rodents from

attacking and killing three birds.

      55.    Defendants also fail to clean moldy food off bird cages, which can lead to

the presence of disease-carrying rodents and other animals.

      56.    As the USDA found, Defendants have also:

             a. failed to provide animals with clean and dry shelter;

             b. failed to dispose of waste properly outside an enclosure housing pigs;

             c. failed to keep water receptacles clean and sanitary;

             d. failed to remove excessive amounts of tortoise and bird feces near the

                opossum and New Guinea singing dog enclosures;

             e. failed to remove excessive feces from the coatimundi enclosure;

             f. failed to keep an enclosure holding a skunk sanitary, leaving

                excessive food waste, thereby attracting flies;




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             g. failed to remove excessive weeds and high vegetation in the New

                Guinea singing dog enclosure, denying the animal full access to the

                outdoor enclosure;

             h. failed to have proper drainage in the pig enclosure, which was

                excessively muddy with puddles of water that could lead to foot

                problems;

             i. failed to have proper sanitation for the kinkajou, allowing the

                buildup of a brown material in the enclosure and allowing the

                buildup of food, excreta, urine, and debris in the litter pan; and

             j. failed to have proper drainage in the alpaca enclosure, which had

                standing water and mud that could lead to food contamination.

      57.    The facility grounds themselves at Tri-State are routinely littered with

an excessive accumulation of waste and debris, which can harbor disease-carrying

vectors and attract disease-carrying rodents and other animals.

      58.    The unsanitary conditions at Tri-State pose a serious threat of injury

and illness to the animals confined at Tri-State.

      59.    As the USDA found, Defendants have also:

             a. failed to keep the grounds free of excessive amounts of excreta and

                debris;

             b. failed to store food in a way that minimizes the risk of contamination,

                including by having open boxes of fruits and vegetables outside in

                the rain, with feral cats resting inside them;



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              c. failed to maintain a clean facility;

              d. failed to remove rodent feces from the food-storage area;

              e. failed to maintain surfaces in the kitchen that can be effectively

                    cleaned and sanitized;

              f. failed to maintain an effective program to control insects (many

                    cockroaches were found in the building housing the kinkajou); and

              g. allowed open bags of feed and an excessive amount of feed spilled on

                    the floor that could harbor and attract pests.

       60.    Defendants fail to provide birds with appropriate humidity and

ventilation in their enclosure. For example, Defendants place heaters in birds’ small

enclosures, which can emit toxic gases and harm the birds. On information and belief,

eight birds, including cockatoos, macaws, and parrots, died due to a propane tank

malfunction resulting in carbon dioxide poisoning, which could have been prevented

with proper heating.

       61.    Defendants deny animals adequate sunlight or appropriate UVA/UVB

sources of light.

       62.    Defendants place incompatible animals in close proximity of one

another, which creates stress and may lead to physical injury.

              4. Defendants inflict unnecessary suffering or pain on animals.

       63.    Defendants have a pattern and practice of inflicting unnecessary

suffering or pain on animals in their custody, including psychological suffering by

denying animals appropriate environmental enrichment or socialization, including



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through conduct in violation of applicable law. See, e.g., Md. Code, Crim. Law § 10-

604.

       64.   The PETA court, opining on Tri-State’s care of lions, tigers, and lemurs,

found that Defendants “made no meaningful effort to even come close to industry

standards [of providing enrichment].” PETA, 2019 WL 7185560, at *10.

       65.   Defendants deny other animals adequate enrichment as well.

       66.   Defendants also deny animals adequate socialization, including Misty,

a solitary llama, alpaca, or llama-alpaca hybrid, whom Tri-State’s veterinarian

Dr. Gale Duncan described as “exhibit[ing] aggression characteristic of ‘berserk[]

male llama’ syndrome.”

       67.   Stereotypic behaviors, such as repetitive pacing and fence chewing,

indicate psychological distress and may be caused from inadequate living conditions,

including a lack of species-appropriate enrichment programs and improper social

groups. They also create risks of physical harm, including foot damage from excessive

pacing and dental damage from chewing of hard or dangerous materials.

       68.   Animals at Tri-State engage in stereotypic behavior.

       69.   For example, at least one Himalayan black bear repetitively paced and

chewed the bars of the enclosure.

       70.   Further, Ms. Collins observed a solitary wolf pacing repetitively for

approximately five minutes.

       71.   Most primates are highly social animals that suffer when confined

without other members of their species. As the USDA has explained, “[s]ocial



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interactions are considered to be one of the most important factors influencing the

psychological well-being of most nonhuman primates.” USDA, Animal & Plant

Health Inspection Service, Final Report on Environment Enhancement to Promote the

Psychological Well-Being of Nonhuman Primates § IV.A (1999). This is particularly

true for social primate species such as capuchin and squirrel monkeys. Companions

provide      social   company   along   with    “environmental   novelty,   multi-sensory

stimulation, something to manipulate, and opportunities for cognitive challenge and

control.” Id.

       72.      Defendants deny adequate socialization to primates, including Dodger,

a capuchin monkey, and Spazz, a squirrel monkey, both of whom Tri-State has kept

in solitary confinement.

       73.      Ms. Collins observed Dodger confined alone, with a bald spot at the base

of his tail due to picking skin off his tail until it started to bleed. Dodger scratched,

pulled, and picked at his stomach.

       74.      Spazz is also confined alone and is housed in a small room that also

contains animals that are predators, including various species of snakes, and has thin

hair and bald patches on his arm, legs, and back.

       75.      As the USDA found, Defendants have also failed to have an

environmental enrichment plan for primates that addressed the special needs of

several species of primates who were confined alone.




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      76.    Defendants have also denied other animals adequate socialization,

including by confining social species such as a wolf and a New Guinea singing dog to

enclosures by themselves.

      77.    Defendants’ pattern and practice of failing to provide animals in their

custody with veterinary and palliative care and failure to implement an adequate

program of veterinary care also inflict unnecessary suffering on animals who become

sick and injured as a result of Defendants’ neglect, and prolongs that suffering.

             5. Defendants fail to provide animals proper food.

      78.    Defendants have a pattern and practice of failing to provide animals in

their custody necessary sustenance as well as nutritious food in sufficient quantity,

in violation of applicable law. See, e.g., Md. Code, Crim. Law § 10-604.

      79.    Discussing Defendants’ treatment of tigers and lions, the PETA court

found that the animals “were not provided ‘basic nutritional needs,’” and that

Defendants’ “repeated defiance of USDA [nutritional] guidelines presents not only

loss in nutritional value but also places the Big Cats at risk of ‘serious

[gastrointestinal] diseases’ including sepsis, from which India [a tiger] succumbed.”

PETA, 2019 WL 7185560, at *18, *20 (internal citations omitted).

      80.    On information and belief, there are no protocols in place to ensure that

volunteers perform their assigned duties or that the animals are actually fed. This

results in Defendants frequently failing to adequately feed the animals at Tri-State.

      81.    Ms. Collins observed a miniature horse or pony who appeared lethargic

and malnourished.



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      82.      Defendants fail to provide farm animals with adequate amounts of

appropriate hay or feed. For example, in lieu of hay, Defendants placed straw in farm

animals’ enclosures and allowed it to become moldy.

      83.      Defendants locked the Himalayan black bears in an indoor enclosure

during winter months and denied them any food and water during this time.

      84.      Defendants frequently fed the Himalayan black bears an inappropriate

diet, including dog food, cat food, and baked goods.

      85.      Defendants used inappropriate methods to thaw frozen mice and rats

used to feed snakes.

      86.      Defendant Mr. Candy told volunteers that he would stop paying for

animals’ food, requiring volunteers to pay for the animals’ food to keep them alive.

      87.      Defendants stored food in an improper manner, risking spoilage and

contamination from disease-carrying vectors, including free-roaming cats and

rodents.

      88.      Defendants have fed spoiled meat to animals.

      89.      Defendants failed to adequately feed Dream, a miniature horse, whom

Tri-State’s own veterinarian, Dr. Gale Duncan, described as “severely underweight”

and suffering from malnutrition.




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             6. Defendants fail to provide animals proper space.

      90.    Defendants have a pattern and practice of failing to provide animals in

their custody with proper space, contrary to applicable law. See Md. Code, Crim. Law

§ 10-604.

      91.    Defendants have denied numerous animals adequate space in their

enclosures, including alligators, snakes, bobcats, foxes, rabbits, and an owl who was

kept in a cat carrier.

      92.    Defendants continue to deny animals adequate space.

             7. Defendants fail to provide animals proper protection from
                the weather.

      93.    Defendants have a pattern and practice of failing to provide animals in

their custody with proper protection from the weather, contrary to applicable law. See

Md. Code, Crim. Law § 10-604.

      94.    Defendants failed to add any form of temperature and humidity

monitoring or control to many enclosures, denying animals appropriate shelter from

temperature extremes.

      95.    Defendants failed to fix leaking roofs, denying animals adequate

protection from rain.

      96.    On information and belief, Defendants denied the capuchin monkey

Dodger protection from the weather. Dodger had some of his digits amputated after

he contracted frostbite, a condition caused by prolonged exposure to cold

temperatures.




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      97.      As the USDA found, Defendants have also failed to heat the building

holding Japanese macaques sufficiently, allowing the temperature to drop below 45

degrees.

            B. Tri-State is financially unviable.

      98.      Defendants charge a nominal fee for admission to Tri-State, and are

open only for approximately seven months per year. On information and belief, they

are not financially viable, and otherwise lack the resources and ability to adequately

provide for the animals. In this regard, Defendants are, on information and belief,

financially unable to purchase adequate, appropriate, and nutritious food for the

animals, and instead rely, in large part, on substandard food donated by others to

feed the animals.

      99.      Defendants are further, on information and belief, financially unable to

hire trained and experienced employees to care for the animals; instead, they rely, in

large part, on untrained and inexperienced volunteers in an attempt to care for the

animals. At times, these same volunteers are provided shelter on the zoo’s premises

in exchange for their volunteer work.

      100.     Defendants’ apparent financial weakness also precludes them from

providing adequate and clean enclosures, sufficient enrichment, and necessary

veterinary care to the animals. In other words, even if Defendants wanted to provide

adequate care to the animals, they simply are not, on information and belief,

financially able to do so. This likely explains, at least in some part, Defendants’

failure to provide proper care for many animals at Tri-State.



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      101.   Because Tri-State is financially unviable, they are unable to fully correct

the public nuisance unless Defendants forfeit all animals confined at Tri-State.

         C. Defendants’ mistreatment and neglect of captive animals causes
            Plaintiff Connie Collins distress, anguish, and injury.

      102.   Ms. Collins derives personal, recreational, educational, and aesthetic

benefits from being in the presence of animals and observing animals in a humane

setting. For example, she enjoys observing ducks, squirrels, and other animals who

come to her backyard.

      103.   Ms. Collins visited Tri-State once and personally witnessed the

deplorable conditions to which Defendants subject the animals confined there,

including living in tiny enclosures, having no potable water despite the heat, and

living in enclosures contaminated with filth and feces.

      104.   Ms. Collins experienced particularly severe distress and anguish as a

result of her visit to Defendants’ property and her observations of animals in the

conditions that she found at Defendants’ property.

      105.   The inhumane setting and mistreatment of the animals that Ms. Collins

observed at Tri-State made her sick and upset her too much to return to visit the

animals in their current conditions.

      106.   Ms. Collins has also devoted significant effort trying to improve the

animals’ situation. She, along with her husband, contacted Allegany Animal Control,




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news media, and other government and non-governmental agencies, including the

USDA and PETA, to report what they observed at Tri-State.

      107.   As someone who personally has visited the animals confined at Tri-

State, formed a specific emotional attachment to the animals, and made efforts on

behalf of the animals to improve their conditions, Ms. Collins has suffered significant

harm and a particularized injury, different in kind and degree than the general

public, resulting from the unreasonable and unlawful conduct of Defendants with

respect to the animals at Tri-State.

      108.   Defendants have injured and continue to injure Ms. Collins’ personal,

aesthetic, recreational, and educational interests by depriving her of a right to

personally observe the animals confined by Defendants living in a humane setting.

      109.   Because Ms. Collins appreciates, is attached to, and is concerned about

the animals’ welfare, she wishes to see the animals currently confined by Defendants

in a humane setting and to avoid seeing them in an inhumane setting.

      110.   If the animals were no longer mistreated and were given a humane

setting at Tri-State, or were transferred to a sanctuary or other place where they

were no longer mistreated and where they lived in a humane setting, Ms. Collins

would return to visit the animals.

          D. Defendants’ mistreatment and neglect of captive animals
             perceptibly impairs PETA’s activities and programs, and has
             forced it to divert resources.

      111.   PETA is dedicated to protecting animals, including animals used in

entertainment, from abuse, neglect, and cruelty. PETA’s motto, which summarizes



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its mission, reads, in part: “Animals are not ours to . . . use for entertainment[] or

abuse . . . .”

       112.      By mistreating and neglecting captive animals, and therefore increasing

the number of animals subject to abuse and neglect in entertainment, Defendants

directly frustrate PETA’s mission to eliminate the abuse and neglect of animals.

       113.      To achieve its objectives of ending the abuse and neglect of animals,

including animals used for entertainment, PETA pursues many programs, including

public education, cruelty investigation, research, animal rescue, legislation, special

events, celebrity involvement, and protest campaigns. It brings this suit on its own

behalf to protect its programs, which have been perceptibly impaired by Defendants’

actions.

       114.      By continuing to engage in cruelty to animals without repercussion,

Defendants create the incorrect public impression that the conditions in which these

animals are kept are humane and lawful and that Defendants can lawfully abuse,

neglect, and mistreat animals. This frustrates PETA’s programs by making it harder

to persuade the public that it should not tolerate Tri-State’s unlawful mistreatment

of the animals who are the subject of this action and the use of animals in

entertainment.

       115.      Moreover, Defendants falsely present Tri-State as a refuge for

abandoned and unwanted animals, thus creating the incorrect public impression that

Defendants are providing an essential rescue service and that but for Defendants’

efforts, the animals confined at Tri-State would not be adequately provided for. This



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too frustrates PETA’s programs by making it harder to persuade the public that it

should not tolerate Tri-State’s unlawful mistreatment of the animals who are the

subject of this action and the use of animals in entertainment.

       116.   As a result, PETA has been forced to divert resources in order to

counteract the public impression that Defendants’ practices are lawful and consistent

with animal welfare and that Defendants are providing an essential rescue service.

In order to counteract this public impression, PETA has been and continues to be

forced to, among other activities: submit complaints about Tri-State to government

agencies; post multiple posts on the PETA.org blog; review and respond to complaints

from the public about Tri-State; compile and publish information on PETA’s website

about Defendants’ history of animal welfare violations; and distribute press releases

on Defendants’ AWA violations. PETA has also filed and litigated lawsuits over Tri-

State’s AWA license renewal and Tri-State’s Endangered Species Act violations, and

has sent an attorney to meet with Mr. Candy to offer to find the animals homes at

reputable facilities.

       117.   In order to compile accurate information about Tri-State to share with

the public and its members, as well as to counteract the public misimpression that

Defendants’ practices are lawful and consistent with animal welfare, PETA has been

and continues to be forced to: track and gather Defendants’ USDA inspection reports;

monitor Defendants’ social media pages and website; submit multiple public records

requests related to the facility; file an administrative appeal regarding the apparent

unlawful withholdings of public records; and review and analyze numerous



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responsive documents. Before commencing the Endangered Species Act action, PETA

also arranged for staff and activists to visit Tri-State.

       118.    PETA has also been and continues to be forced to undertake all of the

actions listed in the preceding two paragraphs, and is therefore compelled to divert

resources, to address Defendants’ unlawful mistreatment of the animals who are the

subject of this action.

       119.    PETA’s ongoing need to expend resources to investigate and counteract

Defendants’ unlawful cruelty to animals has perceptibly impaired PETA’s ability to

advance its mission. Specifically, the expenses incurred identifying and counteracting

Defendants’ illegal activity has forced PETA to divert resources away from campaigns

against other non-accredited roadside zoos and traveling animal shows with

egregious records of animal neglect and abuse, and from funding animal rescues,

among other efforts.

       120.    PETA suffers an injury different in kind and degree than the general

public due to the perceptible frustration of its programs caused by Defendants’

nuisance, which makes it harder for PETA to persuade the public that it should not

tolerate the use of animals in entertainment and should not tolerate animal abuse

and neglect. Unlike other members of the public, PETA has been forced to divert

resources to counteract the public impression that Defendants’ treatment of animals

is lawful and consistent with animal welfare, when it is in fact illegal and cruel to the

animals, and that Defendants are providing an essential rescue service, when they

are not.



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      121.   If PETA prevails in this action, Defendants will no longer be able to

maintain the animals at issue in conditions that are unlawful and inconsistent with

animal welfare, and PETA will no longer have to divert resources to counteract the

incorrect public impression caused by Defendants’ unlawful acts or to counteract the

unlawful acts themselves.

      122.   PETA’s additional efforts and the resulting expenditures would not be

necessary but for Defendants’ unlawful mistreatment of animals.

      123.   Plaintiffs are in a position to secure new homes at bona fide wildlife

sanctuaries or otherwise appropriate zoological facilities or homes for all affected

animals.

V.    CLAIM FOR RELIEF

                            Count I—Public Nuisance

      124.   Plaintiffs incorporate by reference all allegations of the Complaint.

      125.   Defendants’ operation of Tri-State, including the treatment of animals

confined therein, unreasonably interferes with the rights of the general public and

constitutes a public nuisance.

      126.   The public nuisance created by Defendants’ actions is unreasonable—it

has caused and continues to cause significant interference with public morals.

      127.   Defendants’ conduct also is unreasonable because it constitutes cruelty

to animals in violation of state law and violates animal welfare standards under

federal law. See Md. Code, Crim. Law § 10-604; 7 U.S.C. §§ 2131-2159.

      128.   These violations of law support a finding of public nuisance under

Maryland law.

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      129.   As a direct and proximate result of Defendants’ creation of a public

nuisance, Plaintiffs have suffered harm different in kind and degree than that

suffered by members of the public.

      130.   Plaintiff Connie Collins has a particular emotional attachment to the

confined animals and incurred an injury including but not limited to her aesthetic,

recreational, educational, and personal interest in seeing the animals in a humane,

safe, and psychologically enriching setting. Ms. Collins would return to Tri-State if

the animals were to receive proper food, necessary veterinary care, proper drink,

proper space, proper shelter, and proper protection from the weather, and were to no

longer unnecessarily suffer, or she would visit the animals if they were moved to a

sanctuary.

      131.   Plaintiff PETA has incurred economic damages including but not

limited to the use of its resources to investigate and counteract Defendants’ unlawful

conduct and to counteract the incorrect public impression caused by Defendants’

unlawful acts.

      132.   If unabated, Defendants’ conduct will continue to threaten the rights of

the general public and Plaintiffs’ rights. Equitable relief, including transfer of the

animals to a bona fide sanctuary or otherwise appropriate zoological facilities or

homes and an injunction prohibiting Defendants from obtaining other animals, would

redress ongoing harms to Plaintiffs by Defendants’ conduct at Tri-State.




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      133.   If equitable relief were granted, Ms. Collins would no longer be

distressed by the inhumane setting in which the animals confined at Tri-State

currently suffer.

      134.   If equitable relief were granted, PETA would cease incurring costs

related to investigating and counteracting Defendants’ unlawful conduct and the

resulting public misimpressions.

                                   Relief Requested

      WHEREFORE, Plaintiffs pray for the following relief:

      A. An order declaring that Defendants’ operation of Tri-State violates

          Maryland’s cruelty to animals statute, Md. Code, Crim. Law § 10-604, and

          the Animal Welfare Act, 7 U.S.C. §§ 2131-2159, and is a public nuisance

          under Maryland law.

       B. An injunction:

                1. ordering Defendants to cease maintaining a public nuisance,

                    namely by confining animals in inhumane and unsafe conditions;

                2. terminating all Defendants’ ownership and possessory rights

                    with respect to the animals confined at Tri-State or Defendants’

                    real property;

                3. prohibiting Defendants from obtaining or exhibiting other

                    animals; and

                4. prohibiting Defendants from holding Tri-State out as a sanctuary

                    or animal rescue.



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       C. An order appointing a special master or guardian ad litem to identify

          reputable sanctuaries or otherwise appropriate zoological facilities or

          homes and to determine the most appropriate placement for the forfeited

          animals, consistent with the animals’ best interests; and

       D. An order granting such other and further relief as the Court deems just

          and proper.

Date    May 14, 2020                    Respectfully submitted,
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